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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   Michelle L. Parker,                        )   No. CV 14-01828 PHX MEA
                                                )
10              Plaintiff,                      )
                                                )   ORDER OF DISMISSAL
11       vs.                                    )   WITH PREJUDICE
                                                )
12   Maximum Title Loans, LLC,                  )
                                                )
13              Defendant.                      )
                                                )
14
15          All of the parties to this matter have consented to the exercise of magistrate judge
16   jurisdiction over the matter, including the entry of final judgment.
17          Pursuant to the stipulation of dismissal at Doc. 26,
18          IT IS ORDERED that this matter is dismissed with prejudice, each party to bear
19   its own attorneys’ fees and costs.
20          DATED this 28th day of April, 2015.
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